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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON
    TALCUM POWDER PRODUCTS                       Case No. 3:16-md-2738-MAS-
    MARKETING, SALES PRACTICES                   RLS
    AND PRODUCTS LIABILITY
                                                 MDL Case No. 2738
    LITIGATION
                                                 Motion Day: January 2, 2024

                                                 NOTICE OF MOTION FOR
                                                 ENTRY OF ORDER TO SHOW
                                                 CAUSE

                                                ORAL ARGUMENT
                                                REQUESTED


          PLEASE TAKE NOTICE that on January 2, 2024, the undersigned counsel

    will bring Defendants Johnson & Johnson and LTL Management LLC’s Motion

    for Order to Show Cause Why Andy Birchfield and Beasley Allen Should Not Be

    Disqualified From This Litigation or Removed From the Plaintiffs’ Steering

    Committee before this Court. Defendants will ask for entry of an Order to Show

    Cause directing plaintiffs’ counsel Andy Birchfield and the Beasley Allen law firm

    to show cause why Mr. Birchfield and Beasley Allen should not be (1) disqualified

    from representing plaintiffs in this case or (2) removed from the Plaintiffs’

    Steering Committee and role as Plaintiffs’ Co-Lead Counsel in this MDL.

    Defendants request that oral argument be held in connection with this motion.
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    DATED: December 5, 2023                 Respectfully submitted,

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